Case 1-21-4060 /0-jmm Doc 20-5 Filed O//Ol/2l Entered O//Ol/21 OYiss:12

B 2500B (Form 2500B) (12/15)

United States Bankruptcy Court

e EASTERN District Of NEW YORK
Inte _yRKATERINA TUMAYEVA > ) Case No. _1~21-40870—.JMM
Debtor )
) Chapter__11
AMERICAN EXPRESS NATIONAL BANK )
Plaintiff )
)
v. ) Adv. Proc. No.
)
YEKATERINA TUMAYEVA )
Defendant )

SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons,

except that the United States and its offices and agencies shall file a motion or answer to the complaint within 35
days.

U.S. BANKRUPTCY COURT
271 CADMAN PLAZA EAST
BROOKLYN, NY 11201

Address of the clerk:

At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attomey.

Name and Address of Plaintiff's Attomey: Paul J Hooten, Esq. |
' 5505 Nesconset Hwy Suite 203

Mt Sinai, NY 11766

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint
will be held at the following time and place:

Address) U.S. Bankriptcy Court Room:
271 Cadman Plaza East Date and Time:
Brooklyn, NY 11201

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE
YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND
JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN
THE COMPLAINT.

(Clerk of the Bankruptcy Court)

Date: By: (Deputy Clerk)

